        Case: 3:14-cv-00540-jdp Document #: 137 Filed: 01/21/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

ROGER ALLEN COSE,

        Plaintiff,
                                                        Case No. 14-cv-540-jdp
   v.

BELINDA SCHRUBBE,
MARY GORSKE and CHARLES LARSON,

        Defendants.


                       AMENDED JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.


        /s/                                                   1/21/2020
        Peter Oppeneer, Clerk of Court                        Date
